         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR32


UNITED STATES OF AMERICA                   )
                                           )
                                           )
           VS.                             )            ORDER
                                           )
                                           )
DARIAN KENDALL ROBINSON                    )
                                           )


     THIS MATTER came on for hearing before the Court on April 9,

2008, on the motion of Defendant’s counsel to withdraw and the

Defendant’s motion to withdraw his guilty plea.

     As for the motion of Defendant’s court-appointed attorney to

withdraw, notice of appearance has been filed by attorneys Richard Beam,

Jr., and Steve Dolley, Jr., who advise they have been retained by the

Defendant to represent him in these proceedings. The Court inquired of

the Defendant if he had indeed accepted representation by Mr. Beam and

Mr. Dolley, and Defendant advised that he had done so. Therefore, the

Court will grant the motion by Defendant’s court-appointed attorney,

Stanford Clontz, to withdraw.




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      Defendant’s retained counsel advised the Court that they had

engaged in lengthy discussions with the Defendant regarding the

consequences of proceeding with his plea in this matter versus proceeding

to trial. Counsel advised the Court that pursuant to those discussions, the

Defendant now wished to withdraw his motion to withdraw his guilty plea

and proceed to sentencing. The Court then addressed the Defendant

regarding this matter, and the Defendant assured the Court that it was his

wish to proceed to sentencing and asked the Court that he be permitted to

withdraw his motion. The Court granted Defendant’s request.

      IT IS, THEREFORE, ORDERED that the motion of Defendant’s

court-appointed attorney, Stanford K. Clontz, to withdraw is ALLOWED,

and Mr. Clontz is hereby relieved of further responsibility for the

representation of the Defendant herein.

      IT IS FURTHER ORDERED that the Defendant’s motion to withdraw

his motion to withdraw his guilty plea is ALLOWED, and such motion is

deemed withdrawn.

      IT IS FURTHER ORDERED that this matter proceed to sentencing

as previously scheduled for Tuesday, April 22, 2008, at 9:30 AM, in

Asheville, North Carolina.



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                               Signed: April 10, 2008




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